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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
v.                                                 §            Cr. No. C-05-346 (15)
                                                   §
FAVIAN CANTU ROSALEZ,                              §
     Defendant/Movant.                             §

            ORDER DENYING LETTER MOTION FOR REDUCED SENTENCE

        On August 15, 2007, the Clerk docketed a letter motion from Favian Cantu Rosalez, in which

he describes his rehabilitation while incarcerated and requests that the Court modify his sentence to

allow him to serve the last 10 months of that sentence on house arrest. (D.E. 520.) He explains that

the officials at his current place of incarceration have determined that he is not eligible for the BOP’s

Residential Drug Alcohol Program because he did not have enough time left on his sentence. He

complains that it took the BOP seven months to make a decision on his eligibility for the program,

which he appears to believe caused him to not have enough time left to qualify.

        His letter also describes his attempts at rehabilitation while incarcerated. He notes that he

attends weekly meetings of Narcotics Anonymous on his own accord, that he has had clear conduct

and no disciplinary problems while serving his sentence, that he has received exemplary work reports,

and that he has completed all required classes for pre-release as well as voluntarily completing

numerous Adult Continuing Education Classes. He also asserts that his work assignments sometimes

require him to leave prison property and that he is permitted to do so because of his BOP status being

“Community Custody.”

        Finally, he notes the hardships that his family has had to endure during his incarceration,

including that his wife has been unable to maintain a residence for herself and for Rosalez’s children

and that the family is currently living in a crowded home with his wife’s parents. He also points out
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his wife’s inability to visit him because she must work such long hours, and her inability to pay for

jaw surgery required by Rosalez’s daughter.

        The Court construes Rosalez’s letter as requesting a reduction in sentence pursuant to 18

U.S.C. § 3582. While Rosalez’s attempts at rehabilitation and his self-described exemplary work and

disciplinary records are to be commended, § 3582 allows a court to reduce a defendant’s sentence

only in certain limited circumstances, none of which are present here.

        Specifically, this Court has authority to modify or correct a previously imposed sentence only

in the “limited number of circumstances” set out in 18 U.S.C. § 3582(c). United States v. Bridges, 116

F.3d 1110, 1112 (5th Cir. 1997). These circumstances are limited to the following: (1) when the

Bureau of Prisons moves the Court to modify the sentence for reasons outlined in § 3582(c)(1); (2)

under Fed. R. Crim. P. 35 (on the government’s motion due to substantial assistance or to correct a

clerical mistake within seven days of the date the sentence was imposed); and (3) when the guidelines

under which the defendant was sentenced have been subsequently lowered, and a modification of

sentence is consistent with the guidelines’ policy statements. See § 3582(c). Rosalez fails to assert

grounds for modification that fall into any of the categories above. Therefore, the Court does not have

authority to alter his sentence.

        Moreover, while the Court can make recommendations regarding the placement and transfer

of prisoners in the custody of the Bureau of Prisons, the decision of an offender’s placement is

ultimately a decision to be made by the BOP, in its discretion. Indeed, in United States v. Sneed, 63

F.3d 381 (5th Cir. 1995), the Fifth Circuit declined to address the defendant’s request to be allowed




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to serve the remainder of his sentence on home confinement. It reasoned that:

               [S]uch requests are properly directed to the Bureau of Prisons. See 18
               U.S.C. § 3624(c) (1988) (providing that Bureau of Prisons has the
               authority to “place a prisoner in home confinement”); see also Prows
               v. Federal Bureau of Prisons, 981 F.2d 466, 469 (10th Cir. 1992)
               (“Nothing in § 3624(c) indicates any intention to encroach upon the
               Bureau’s authority to decide where the prisoner may be confined
               during the pre-release period.”), cert. denied, 510 U.S. 830, 114 S. Ct.
               98, 126 L. Ed.2d 65 (1993).

Sneed, 63 F.3d at 389 n.6. Thus, it is the BOP’s decision as to whether or not to place Rosalez on

home confinement, not this Court’s.

       For the foregoing reasons, Rosalez’s letter motion to serve the final year of his sentence in

home confinement (D.E. 520) is DENIED.


       ORDERED this 12th day of September, 2007.



                                              ____________________________________
                                                          Janis Graham Jack
                                                      United States District Judge




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